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 8
                             UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11
     HOANG MINH LE, an individual            Case No.: 5:23-cv-1356
12
                Plaintiff,                   COMPLAINT FOR
13
          vs.
14                                              (1) VIOLATION OF THE UNRUH
     MEMONS THREE, LLC, a limited                   CIVIL RIGHTS ACT
15   liability company;
                                                    (CALIFORNIA CIVIL CODE
16              Defendants.                         §§ 51, 52);
17                                              (2) VIOLATIONS OF THE
                                                    AMERICANS WITH
18
                                                    DISABILITIES ACT OF 1990
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28


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                                          I.     SUMMARY
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             1.    This is a civil rights action by Plaintiff HOANG MINH LE (“Plaintiff”)
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     for discrimination at the building, structure, facility, complex, property, land,
 4
     development, and/or the entire parking lot surrounding the shopping plaza bearing the
 5
     legal address: 11512 Magnolia St, Garden Grove, CA 92841-2445, Orange County
 6
     (the “Property”). Plaintiff is often in the area for dining and entertainment as he has
 7
     family and friends that he often visits in the area. On this particular visit, he desired to
 8
     patronize the store “A 1 Market” located at the Property.
 9
             2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
10
     and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
11
     12101, et seq.) and related California statutes1 against Defendant, the tenant and/or
12
     owner of the Property MEMONS THREE, LLC, a limited liability company
13
     (“Defendant”).
14
                                                  II.
15
                                           JURISDICTION
16
             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17
     for ADA claims.
18
             4.    Supplemental jurisdiction for claims brought under parallel California
19
     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20
     1367.
21
             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22
                                                  III.
23
                                                 VENUE
24
             6.    All actions complained of herein take place within the jurisdiction of the
25
     United States District Court, Central District of California, and venue is invoked
26
     pursuant to 28 U.S.C. § 1391(b), (c).
27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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 1
                                                  IV.
 2
                                                PARTIES
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           7.       On information and belief, Plaintiff alleges that Defendant is, or was at
 4
     the time of the incident, the owners, operators, lessors and/or lessees of the Property,
 5
     and consist of a person (or persons), firm, company, and/or corporation.
 6
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
 7
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
 8
     is “physically disabled” as defined by all applicable California and United States laws,
 9
     and a member of the public whose rights are protected by these laws. Plaintiff is a
10
     resident of San Bernardino, California. Plaintiff is considered a high frequency
11
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
12
     the twelve months preceding the filing of this complaint, Plaintiff has filed
13
     approximately fifteen (15) other construction accessibility related claims.
14
                                                        V.
15
                                                   FACTS
16
           9.       On or about June 21, 2023, Plaintiff patronized the Property. The
17
     Property is a sales or retail establishment, open to the public, which is intended for
18
     nonresidential use and whose operation affects commerce.
19
           10.      Plaintiff visited the Property and encountered barriers (both physical and
20
     intangible) that interfered with Plaintiff’s ability to use and enjoy the goods, services,
21
     privileges and accommodations offered at the facility. To the extent known by
22
     Plaintiff, the barriers at the Property included, but are not limited to the following:
23
                 a. The access aisle and/or accessible parking spaces have slopes and cross
24
                    slopes that exceed 2.0%, including but not limited to ramps that protrude
25
                    into access aisles creating excessive sloping. Without a level parking
26
                    space, it becomes difficult for Plaintiff to unload/transfer from his vehicle
27
                    as his wheelchair rolls.
28
                 b. To the extent that the ramps protruding onto the access aisle are intended
                                                  2
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 1
                     to provide an accessible pathway, the ramps are too steep and do not
 2
                     contain the required handrails, thus making it extremely unsafe for
 3
                     Plaintiff to use because when going up or down the makeshift ramp,
 4
                     Plaintiff can easily lose his balance.
 5
                  c. The pavement markings at the accessible parking spaces are extremely
 6
                     faded. Moreover, the vertical signage that is supposed to accompany
 7
                     accessible parking spaces is placed too low. These two barriers coupled
 8
                     together make it difficult for Plaintiff to determine whether such parking
 9
                     spaces are in fact intended for persons with disabilities.
10
            11.      These barriers to access are listed without prejudice to Plaintiff citing
11
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
12
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
13
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
14
     Property.
15
            12.      Plaintiff experienced difficulty, discomfort and embarrassment as a result
16
     of the accessible barriers he encountered. He continues to be deterred from visiting
17
     the Property because of the future threats of injury created by these barriers. Plaintiff
18
     would patronize the Property once the barriers are removed as he enjoys patronizing
19
     the stores at the Property and is often in the area. Plaintiff would return to the
20
     Property within six months of the barriers being corrected to not only patronize the
21
     stores at the Property, but also to ensure that the barriers have been corrected.
22
            13.      On information and belief, Plaintiff alleges that Defendant knew that
23
     these elements and areas of the Property were inaccessible, violate state and federal
24
     law, and interfere with (or deny) access to the physically disabled. Moreover,
25
     Defendant has the financial resources to remove these barriers from the Property
26
     (without much difficult or expense), and make the Property accessible to the
27
     physically disabled. To date, however, the Defendant refuses to remove those
28
     barriers.
                                                    3
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           14.    On information and belief, Plaintiff alleges that at all relevant times,
 2
     Defendant has possessed and enjoyed sufficient control and authority to modify the
 3
     Property to remove impediments to wheelchair access and to comply with the
 4
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
 5
     Defendant has not removed such impediments and has not modified the Property to
 6
     conform to accessibility standards.
 7
                                                VI.
 8
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
 9
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
10
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
11
                                      CODE SECTION 51(f)
12
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
13
     14 for this claim and incorporates them herein.
14
           16.    At all times relevant to this complaint, California Civil Code § 51 has
15
     provided that physically disabled persons are free and equal citizens of the state,
16
     regardless of disability or medical condition:
17
           17.    All persons within the jurisdiction of this state are free and equal, and no
18
     matter what their sex, race, color, religion, ancestry, national origin, disability, or
19
     medical condition are entitled to the full and equal accommodations, advantages,
20
     facilities, privileges, or services in all business establishments of every kind
21
     whatsoever. Cal. Civ. Code § 51(b).
22
           18.     California Civil Code § 52 provides that the discrimination by Defendant
23
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
24
     discrimination provisions of §§ 51 and 52.
25
           19.    Defendant’s discrimination constitutes a separate and distinct violation of
26
     California Civil Code § 52 which provides that:
27
           Whoever denies, aids or incites a denial, or makes any discrimination or
28
           distinction contrary to section 51, 51.5 or 51.6 is liable for each and every
                                                 4
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 1
           offense for the actual damages, and any amount that may be determined by a
 2
           jury, or a court sitting without a jury, up to a maximum of three times the
 3
           amount of actual damage but in no case less than four thousand dollars ($4,000)
 4
           and any attorney’s fees that may be determined by the court in addition thereto,
 5
           suffered by any person denied the rights provided in Section 51, 51.5 or 51.6.
 6
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
 7
     the Second Cause of Action) constitutes a violation of California Civil Code § 51(f)
 8
     thus independently justifying an award of damages and injunctive relief pursuant to
 9
     California law. Per § 51(f), “[a] violation of the right of any individual under the
10
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
11
     section.”
12
           21.    In addition to the occurrence in June 2023 Plaintiff is entitled to
13
     $4,000.00 in statutory damages for each additional occurrence of discrimination under
14
     California Civil Code § 52. Plaintiff continues to be deterred from visiting the
15
     Property and thus is entitled to an additional $4,000.00 in statutory damages for each
16
     additional instance of deterrence or discrimination which occurs from the date of this
17
     complaint until a final judgment is rendered in this action.
18
           22.    The actions and omissions of Defendant as herein alleged constitute a
19
     denial of access to and use of the described public facilities by physically disabled
20
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
21
     result of Defendant’s action and omissions Defendant has discriminated against
22
     Plaintiff in a violation of Civil Code §§ 51 and 51.
23
                                              VII.
24
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
25
                  DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
26
           23.    Plaintiff incorporates the allegations contained in paragraphs 1 through
27
     23 for this claim and incorporates them herein.
28
           24.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
                                               5
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 1
     Congress passed “Title III – Public Accommodations and Services Operated by
 2
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
 3
     entities” which are considered “public accommodations” for purposes of this title,
 4
     which includes any “restaurant, bar, or other sales or rental establishment serving food
 5
     or drink.” § 301(7)(B).
 6
           25.    The ADA states that “[n]o individual shall be discriminated against on
 7
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
 8
     privileges, advantages, or accommodations of any place of public accommodation by
 9
     any person who owns, leases, or leases to, or operates a place of public
10
     accommodation.” 42 U.S.C. § 12182.
11
           26.    The acts and omissions of Defendant set forth herein were in violation of
12
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
13
     Part 36 et seq.
14
           27.    On information and belief, Plaintiff alleges that the Property was
15
     constructed after 1992 and thus Defendant is not entitled to the readily achievable
16
     defense. On further information and belief, Plaintiff alleges that the removal of each
17
     of the barriers complained of by Plaintiff as hereinabove alleged, were at all times
18
     herein mentioned "readily achievable" under the standards §§ 30 l and 302 of the
19
     ADA. As noted hereinabove, removal of each and every one of the architectural
20
     barriers complained of herein were also required under California law. Further, on
21
     information and belief, alterations, structural repairs or additions since January 26,
22
     1993 have also independently triggered requirements for removal of barriers to access
23
     for disabled persons per § 303 of the ADA. In the event that removal of any barrier is
24
     found to be "not readily achievable," Defendant still violated the ADA, per§ 302(b
25
     )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
26
     accommodations through alternative methods that were readily achievable.
27
           28.    On information and belief, Plaintiff alleges that as of the date of
28
     Plaintiff’s encounter at the Property and as of the filing of this Complaint, the
                                                 6
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 1
     Defendant has denied and continues to deny full and equal access to Plaintiff and to
 2
     other disabled persons, including wheelchair users, in other respects, which violate
 3
     Plaintiff's rights to full and equal access and which discriminate against Plaintiff on
 4
     the basis of his disability, thus wrongfully denying to Plaintiff the full and equal
 5
     enjoyment of the goods, services, facilities, privileges, advantages and
 6
     accommodations, in violation of§§ 302 and 303 of the ADA. 42 USC§§ 12182 and
 7
     12183.
 8
           29.    On information and belief, Plaintiff alleges that Defendant has continued
 9
     to violate the law and deny the rights of Plaintiff and other disabled persons to access
10
     this public accommodation since on or before Plaintiff's encounters, as previously
11
     noted. Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
12
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
13
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
14
     in violation of the ADA or has reasonable grounds for believing that he is about to be
15
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
16
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
17
     make such facilities readily accessible to and usable by individuals with disabilities to
18
     the extent required by this title."
19
           30.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
20
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
21
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
22
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
23
     to discrimination on the basis of disability in violation of Title III and who has
24
     reasonable grounds for believing he will be subjected to such discrimination each time
25
     that he may attempt to use the Property and premises.
26
                                                 PRAYER
27
           31.    WHEREFORE, Plaintiff prays that this court award damages and provide
28
     relief as follows:
                                                   7
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 1
        1. Issue a preliminary and permanent injunction directing Defendant as current
 2
     owners, operators, lessors, and/or lessees of the Property to modify the above
 3
     described Property and related facilities so that each provides full and equal access to
 4
     all persons, including but not limited to persons with physical disabilities who use
 5
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
 6
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
 7
     disabilities, and which provide full and equal access, as required by law, including
 8
     appropriate changes in policy;
 9
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
10
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
11
     inaccessible public facilities as complained of herein no longer occur, and can not
12
     recur;
13
        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
14
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
15
     in this case, all according to proof;
16
        4. Award to Plaintiff all appropriate damages, including but not limited to
17
     statutory damages, general damages and treble damages in amounts within the
18
     jurisdiction of this Court, all according to proof;
19
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
20
     costs of this proceeding as provided by law;
21
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
22
     3291;
23
        7. Grant such other and further relief as this Court may deem just and proper.
24

25                                      ASCENSION LAW GROUP, PC

26
     DATE: July 12, 2023                         _____/s/ Pamela Tsao__
27                                           Pamela Tsao, attorney for Plaintiff
28                                                   Hoang Minh Le
                                                    8
                                              COMPLAINT
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